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wILsoN, ELSER, MosKov?frq‘z, EDELMAN & DICKER LLP

150 Easr 42nd Streo:, New York, NY 10017-5639
Tol: 212.490.3000 Fax: 212.490.3038

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June 21, 2010

VlA FACIMILE UNDER SEAL - (718) 613-2446

'I`he Honorable L Leo Glasser
United Srates District Court
Eascem Dism'ct of New York
225 Cadrnan Plaza East
Brooklyn, New York, 11201

Re: United States of America v. Felix Sater

 

Cale No. : 98CR1101 (ILG)
Our File No. : 07765.00155
Dear Judge Glasser:

We represent non-party respondent Frederick M. Oberlander.

I am hereby forwarding for in camera review the email from Joshua Bernstein to Mr.
Oberlander dated March 3, 2010, which Mr. Oberlander forwarded to me on June 1311'1.

Mr. Bemstein’s email attached six PDF tiles. (Please note, however, that the proffer
agreement was included twice in the attachments. So there were really only five attachments.) I
am enclosing a printout of only the first page of each of the PDF attachments, as I believe that
this Will S\:Mce for the court to be able to identify them. Should the court wish to be forwarded a
complete copy of each of the attachments, I will of course do so.

Respectfully yours,

WILSON, ELSER., MOSKOWI'[`Z, EDELMAN & DICKBR LLP

Richard E. Lemer

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Page 2 `MQ

cc: Via E-Mail (Without Enolosures)

Kelly Moorex Esq.

Brian Herm.an, Esq.

David Snider, Esq.

Thomas W. Hyland, Esq.

Lauren J. Rocklin, Esq.

Stanmtios Stamoulis, Esq.

Todd Kaminsky, Esq. - US Attorney’s Office
Marshall Miller, Esq. - US Attorney’ s Office
Frederick M. Oberlander, Esq.

W]LSON, ELSER. MOSKOWITZ, EDELMAN & DICKER LLP
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AM.

Lerner, Richard E.

 

Fd'om: fred$$@ao|.com
Sont: Sunday, June 13, 2010 6:33 PM
To: Lerner, Richard E.

Sub]ect: Fwd: Felix Docs

Attachments: psir[¢]. pdf“, Proffer[1]. pdf; Pror¥er. pdf, Draft%ZOlnformationh] pde Cooperation%ZOAgreement
[1] pdf'. Complaint{1] pdf

--Origina| Message-»~

From: Josh B ¢joshsama`rl@gma'd.com>

To: Gerry Feinberg <tenslaw@aol.oom>; Arnoid Bemstein <amo|dbemstein@gmai|.com>; Frederick Oberlander
<fredSS@ao|.com>

Sent: Wed, Mar 3, 2010 10:37 am

Subjeet Felix Docs

 

6/21/2010

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With respect to the meecing of Felix Sater (nclient") and
his attorney, Myles Malman, Esq., with Special Agent Lec Taddeo and
Derek Acker and Jonathan Sack of the United States Attorney's
effice, to be held at the offices of the United States Attorney for

w/ the Eastern District of New York ("the Office") on October 28, 29
C§?/ and 30, 1998 ("the meeting"), the following understandings exiet:

r (1) In any prosecution brought against Client by the
fj;'Offioe, the Of§ica will not offer in evidence in its case~in-chief
' 'or at sentencing any statements made by Client at the meeting,
except J.n a prosecution for false statements, obstruction of
justice, or perjury.

(2) Notwithstanding item (l) above: (a) the Office may
use information derived directly or indirectly from the meeting for
the purpose of obtaining leads to other evidence, which evidence
may be used in any prosecution and sentencing of Client by the
foice; and (b) should any prosecution of Client be undertaken (i)
the effice may use statements made by Client at the meeting and all
evidence obtained directly or indirectly therefrom for the purpose
of cross~examination should Client testify, or to rebut any
evidence offered, or factual assertions made, by or on behalf of
Client at any stage of the criminal prosecution (including but not
limited to detention hearing, trial or sentencing), and (ii) the
office may disclose any statements made by Client at the meeting to
the Probation Department and the Court, except that pursuant to
Sentencing Guideline § lBl.S, such statements will not be used to
determine or to upwardly depart from the defendant‘s Sentencing
Guideline ranqe.

(3) It is further understood that this agreement is
limited to the statements made by Client at the meeting and does
not apply to any oral, written or recorded statements made by
Client at any other time. No understandings, promises, or
agreements have been entered into with respect to the meeting other

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SATERPRF .AGR
EBQEEEB_A§REEMENT

With respect to the meeting of Felix Sater ("Client") and
his attorney, Myles Malman, Esq., with Special Agent Leo Taddeo and
Derek Acker and Jonathan Sack of the United States Attorney's
Office, to be held at the offices of the United States Attorney for

[ w/ the Eastern District of New York ("the office") on October 28, 29
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» (l) In any prosecution brought against Client by the
F-§ Office, the Office will not offer in evidence in its case-in-chief
' 'or at sentencing any statements made by Client at the meeting,
except in a prosecution for false statements, obstruction of
justice, or perjury.

(2) Notwithstanding item (l} above: (a) the Office may
use information derived directly or indirectly from the meeting for
the purpose of obtaining leads to other evidence, which evidence
may be used in any prosecution and sentencing of Client by the
Office; and (b) should any prosecution of Client be undertaken (i}
the Office may use statements made by client at the meeting and all
evidence obtained directly or indirectly therefrom for the purpose
of cross-examination should Client testify, or to rebut any
evidence offered, or factual assertions made, by or on behalf of
Client at any stage of the criminal prosecution (including but not
limited to detention hearing, trial or sentencing), and (ii) the
Office may disclose any statements made by Client at the meeting to
the Probation Department and the Court, except that pursuant to
Sentencing Guideline § lBl.B, such statements will not be used to
determine or to upwardly depart from the defendant's Sentencing
Guideline range.

(3) lt is further understood that this agreement is
limited to the statements made by Client at the meeting and does
not apply to any oral, written or recorded statements made by
Client at any other time. No understandings, promises, or
agreements have been entered into with respect to the meeting other

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UNITED sTATrs nlsrnrc'r comm
BASTERN DIS'I'RICT oF NEW YORK
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UNITED sTATrs or AMERICA I n z Q 3 m A m 1 Q m
- against - cr. No§
('L'. 18, U.s.c., 55
FELIX sATBR, 1962(¢::), 1963(a)
and 3551 et seq.
Defendant. ]
_________________ X

THE UNITED ST.ATES ATTORNEY CHARGES:

At all times relevant to this information, unless
otherwise indicated:

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1. The United States Sacurities and Exohange
Commission (the "SEC") is an independent agency of the United
States government charged with the duty of protecting investors
by regulating and monitoring the trading of securities, including
the conduct of broker-dealers and brokers of securities, in the
United states.

2. The National Aseociation of Seourities Dealers
(”NASDH is an organization created pursuant to federal
securities law, Which, among other thinqs, issues rules governing
the conduct of broker-dealers and brokers of securities.

3. A broker-dealer is an entity authorized to execute
purchases and sales of securities for others and to take

positions of its own in securities. If the broker-dealer

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F. #1998R01996
SATERCOO.AGR

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

________________ X
UNITED STATES OP AMERICA COOPERATION AGREEMENT '
- against - 98 CR 1101 (ILG}
FELIX SATER,
Defendant.
________________ X

Pursuant to Rule ll of the Federal Rulee of Criminal
Procedure, the United States Attorney's Office for the Eastern
District of New York (the “Office") and FELIX SATER (the
"defendant") agree to the following:

» 1. The defe"dant will waive indictment and plead
guilty to an information to be filed in this district charging
violation of 18 U.S.C. § 1962(¢). The count carries the

following statutory penaltiee:

a. Maximum term of imprisonment: 20 years
118 u.s.c. § 1953(a)).

b. Minimum term of imprisonment: 0 years
(18 U.s.c. § 1963(a;).

c. Maximum supervised release term: 3 years, to
follow any term of imprisonment; if a
condition of release is violated, the
defendant may be sentenced to up to 2 years
without credit for pre-release imprisonment
or time previously served on post-release
supervision
(lB U.S.C. §§ 3583 (bi. te)J.

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UNITED STBTES DISTRICT COURT
EASTERN DISTRICT OF NEW YCRK

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UNITED STATES OF AHERICA CQHPLAINT ARD
, AFFIDAVIT IN SUPPORT
' against - QELABBEET_HARBAHIE__
GENNADY KLOTSHAN, also known as (T, 15, U.s.C.,
"Gene Klotsman," "Hlliot Smith" 55 78j(b) and 78ff;
and "r. smith," and T. za, U.s.c., ss
FELIX BATBR, also known as 1955(3}{1)(8)(1) and
"Peul §tewurt" and 2)

"?. Stewart,"
Dofendant.
- - . _ _ - _ . - _ _ _ - _ _ _ _x
‘:‘ LED TAnnEo, being duly sworn, deposes and says that ha
is a special Agent of the Federal Bureau of Investigation, duly
appointed according to law and acting as auch. '

In or about and between xareh 1994 and Deeemhar 1995,
within the Eaetern Dietriot of New York and elsewhere, the
defendants sENNADY KLoTSHAN. also known as "Gene Klotsman,"
"Elliot Smitn" and ”E. Smith," FELIX EATER, also known as lPaul
stewart" and "P. stowart," and others, did knowingly and
willcully use and employ manipulative and deceptive devices and
contrivances and, directly and indirectly, did (a) employ
devices, schemes and artifioes to defraud; (b) make untrue
statements of material facts and omit to state material tests
necessary in order to make the statements made, in light of the
circumstances under which they were mode, not misleading; and (c)

engage in acts, practices and courses ot business which would and

